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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND



     UNITED STATES OF AMERICA                        :
                                                     :
                    v.                        :
                                                     :      CRIM. NO.: RWT-04-cr-00235
     PAULETTE MARTIN,                                :
                                                     :
                                                     :
          Defendant.                                 :

                                            ...oooOooo...


                                                  LINE

Madam Clerk:

       Please strike the appearance of Mara Zusman Greenberg as counsel for the government for

all purposes in the above-captioned case.

                                              Respectfully submitted,

                                              Rod Rosenstein
                                              United States Attorney



                                        By:        /s/
                                              Mara Zusman Greenberg
                                              Assistant United States Attorney
                                              United States Attorney=s Office of Maryland
